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                                                                1   MARQUIS AURBACH COFFING
                                                                    Phillip S. Aurbach, Esq.
                                                                2   Nevada Bar No. 1501
                                                                    Chad F. Clement, Esq.
                                                                3   Nevada Bar No. 12192
                                                                    10001 Park Run Drive
                                                                4   Las Vegas, Nevada 89145
                                                                    Telephone: (702) 382-0711
                                                                5   cclement@maclaw.com

                                                                6   MICHELMAN & ROBINSON, LLP
                                                                    Steven S. Davis, Esq.
                                                                7   10880 Wilshire Blvd., 19th Floor
                                                                    Los Angeles, California 90024
                                                                8   Telephone: (310) 564-2670
                                                                    Facsimile: (310) 564-2671
                                                                9   sdavis@mrllp.com
                                                                    Admitted Pro Hac Vice
                                                               10
                                                                    Attorneys for Plaintiff and Counterdefendant, Nanal, Inc.
                                                               11
MARQUIS AURBACH COFFING




                                                               12                              UNITED STATES DISTRICT COURT

                                                               13                                     DISTRICT OF NEVADA
                          (702) 382-0711 FAX: (702) 382-5816
                                Las Vegas, Nevada 89145




                                                               14   NANAL, INC.,
                                  10001 Park Run Drive




                                                                                                                      Case Number: 2:19-cv-02211
                                                               15         Plaintiff and Counterdefendant,
                                                                                                                      The Honorable Richard F. Boulware, II
                                                               16         vs.
                                                                                                                      Magistrate Judge Elayna J. Youchah
                                                               17   SMK INTERNATIONAL, INC. AND
                                                                    MOHAMMED MAQBOOL,
                                                               18
                                                                          Defendants and Counterclaimants.
                                                               19                                                       STIPULATED PROTECTIVE ORDER

                                                               20   SMK INTERNATIONAL, INC. AND
                                                                    MOHAMMED MAQBOOL,
                                                               21
                                                                          Defendants and Counterclaimants.
                                                               22
                                                                          vs.
                                                               23
                                                                    NANAL, INC.,
                                                               24
                                                                          Plaintiff and Counterdefendant,
                                                               25

                                                               26   ///
                                                               27   ///
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                                                                                                            1
                                                                                               STIPULATED PROTECTIVE ORDER
                                                                    Case 2:19-cv-02211-RFB-EJY Document 15 Filed 04/20/20 Page 2 of 12


                                                                1            Plaintiff and Counterdefendant, Nanal, Inc., and Defendants and Counterclaimants SMK

                                                                2   International, Inc. and Mohammed Maqbool, through their respective counsel of record, hereby

                                                                3   enter into this Stipulation for a Protective Order (“Order”) pursuant to the provisions of FRCP

                                                                4   26(c). The Parties have agreed and stipulated to the entry of this Order for the protection of

                                                                5   confidential and sensitive documents, records, and information produced or otherwise disclosed

                                                                6   by the parties in this action.

                                                                7            IT IS HEREBY STIPULATED AND AGREED, by and between the Parties, through

                                                                8   their respective counsel of record, that the following terms and conditions shall govern the

                                                                9   disclosure, production, and use of documents and information in this action:

                                                               10   I.       DEFINITIONS

                                                               11            1.     “Material” refers to any document, data compilation, testimony, report,
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                                                               12   interrogatory response, response to a request for admission, response to a request for production,
                                                               13   or other information in any form produced or disclosed in this action (including copies), whether
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                                Las Vegas, Nevada 89145




                                                               14   voluntarily or through any means of discovery authorized by law, and whether by a party or non-
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                                                               15   party.
                                                               16            2.     Material may be designated “Confidential” if the Designating Party in good faith
                                                               17   believes that disclosure of such Material in this action without the designation presents a risk of
                                                               18   injury to the legitimate business or personal interests of the Disclosing Party, or any other
                                                               19   legitimate interest of the Disclosing Party. Confidential information includes, but is not limited
                                                               20   to, all Materials reflecting, referring to, or evidencing any information deemed confidential by

                                                               21   any local, state, or federal statute, ordinance, regulation, or other law, confidentiality agreement,

                                                               22   business plans or forecasts, financial plans and forecasts, operational plans and forecasts, and all

                                                               23   private or sensitive commercial, technical, financial, proprietary, personal, personnel,

                                                               24   underwriting, rating, claims and insurance policy information, which is not publicly known and

                                                               25   cannot be ascertained from an inspection of publicly-available documents or materials.

                                                               26   Confidential information may take the form of, but is not limited to, (a) documents, responses to

                                                               27   request for production, interrogatory responses, or responses to requests for admissions; (b)

                                                               28   hearing or deposition transcripts and related exhibits; and, (c) all copies, abstracts, excerpts,
                                                                                                                   2
                                                                                              STIPULATED PROTECTIVE ORDER
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                                                                1   analyses, reports, and complete or partial summaries prepared from or containing, reflecting, or

                                                                2   disclosing such confidential information.

                                                                3          3.      “Disclosing Party” refers to a party, or non-party, to this action who produces

                                                                4   Material.

                                                                5          4.      “Designating Party” refers to a party or non-party to this action who designates

                                                                6   Material as Confidential or Sensitive-Attorney Eyes Only.

                                                                7          5.      “Requesting Party” refers to a party who has made a discovery request.

                                                                8          6.      “Receiving Party” refers to a party who receives, or is otherwise exposed to,

                                                                9   Material during the course of this action.

                                                               10   II.    SCOPE OF PROTECTIVE ORDER

                                                               11          1.      Except as the parties may otherwise agree, or the Court may order, any Material
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                                                               12   produced in this action, which is designated Confidential, including any report, excerpt, analysis,
                                                               13   summary, or description of it, shall be strictly controlled by this Order, and no disclosure or use
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                                Las Vegas, Nevada 89145




                                                               14   of such Material, by any Receiving Party, can be made except in accordance with the
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                                                               15   requirements of this Order. All Material designated Confidential shall be used solely for the
                                                               16   prosecution or defense of this action.
                                                               17          2.      This Order shall govern all Material produced in this action, including Material
                                                               18   produced prior to entry of this Order.
                                                               19          3.      The protections of this Order shall not apply to Material that, prior to disclosure in
                                                               20   this action, was within the actual possession or knowledge of a Receiving Party but was not

                                                               21   subject to any confidentiality obligation between the Parties, was previously disclosed by a

                                                               22   Disclosing Party to a non-party to this action without any obligation of confidentiality, or was

                                                               23   actually public knowledge, provided that the Material did not become public knowledge through

                                                               24   an act or omission of a Receiving Party. Material that was in the hands of the Receiving Party

                                                               25   prior to disclosure in this action, however, and was subject to a confidentiality obligation

                                                               26   between the Parties, shall be made subject to this Order. Any party who claims that the Material

                                                               27   was, prior to disclosure in this action, within its actual possession or knowledge and was not

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                                                                                                STIPULATED PROTECTIVE ORDER
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                                                                1   subject to a confidentiality obligation or was public knowledge shall have the burden of proving

                                                                2   that fact.

                                                                3           4.       Nothing in this Protective Order shall be construed to prohibit counsel from

                                                                4   providing advice, guidance, or counsel to a party, regardless of whether such advice, guidance,

                                                                5   or counsel is based, in whole or in part, upon information counsel learned from Material

                                                                6   designated Confidential, so long as counsel does not disclose Material to anyone not permitted to

                                                                7   receive such Material under this Order.

                                                                8   III.    DESIGNATION OF MATERIAL

                                                                9           A.       GENERAL PROVISIONS

                                                               10           1.       A Designating Party may designate Material as Confidential if the Material (1) is

                                                               11   Confidential, as defined by Section I(2), and, (2) is not excluded from the scope of this Order by
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                                                               12   Section II(3).

                                                               13           2.       A Designating Party’s failure to designate Material as Confidential at the time of
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                                Las Vegas, Nevada 89145




                                                               14   production or disclosure of the Material does not waive its right to later designate the Material as
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                                                               15   Confidential, so long as the Designating Party notifies all Parties in writing of the failure within a

                                                               16   reasonable time period after learning that the Material was produced without an appropriate

                                                               17   confidentiality designation.     After any designation, each Receiving Party shall treat the

                                                               18   designated Material as Confidential and subject to the protections of this Order.

                                                               19           B.       METHODS OF DESIGNATION

                                                               20           1.       A Designating Party may designate Material as Confidential by placing or

                                                               21   affixing on the Material the word “Confidential.”

                                                               22           2.       Testimony, including hearing or deposition transcripts, or portions of such

                                                               23   transcripts, and any applicable exhibits, may be designated Confidential by: (a) counsel so

                                                               24   stating on the record during the hearing or deposition, or (b) providing written notice to the

                                                               25   reporter and all counsel of record. All transcripts of hearings or depositions, or portions of such

                                                               26   transcripts, and any applicable exhibits, shall be considered as designated Confidential at the

                                                               27   time of the hearing or deposition, until 30 days after the reporter sends notice that the written

                                                               28   transcript is available for review. The parties may, however, designate transcripts, or portions of
                                                                                                                     4
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                                                                1   such transcripts, and any applicable exhibits, as Confidential at any time, including after the 30-

                                                                2   day period described in the preceding sentence. If such a designation is made after the 30-day

                                                                3   period, all designated Material shall be handled as Confidential from the time of the designation

                                                                4   forward and all Receiving parties shall make reasonable efforts to recover any transcripts or

                                                                5   portions of transcripts that have been disclosed beyond what is allowed for the asserted

                                                                6   designation.   If transcripts or portions of such transcripts, and any applicable exhibits are

                                                                7   designated as Confidential, the Parties’ counsel and the court reporter shall make reasonable

                                                                8   arrangements to maintain the confidentiality of any deposition testimony or exhibits so

                                                                9   designated, in accordance with the terms of this Order.       These arrangements may include the

                                                               10   marking of transcript pages, covers or exhibits, and other measures to preclude the disclosure of

                                                               11   Confidential Material other than to qualified persons.
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                                                               12          3.      When Confidential Material is supplied or stored on a digital, electronic, or

                                                               13   electromagnetic medium, the Confidential designation shall be made, to the extent physically
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                                Las Vegas, Nevada 89145




                                                               14   possible, on the medium itself (such as on a label attached to a disk), on the sleeve, envelope,
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                                                               15   box, or other container of such medium, or by submitting a written statement to all counsel of

                                                               16   record identifying the appropriate designation.

                                                               17          C.      CHALLENGING CONFIDENTIALITY DESIGNATIONS

                                                               18          1.      Any Party may challenge the designation of any information through court

                                                               19   intervention. The Party making such a challenge shall give the Designating Party written notice

                                                               20   specifically setting forth the grounds for the objection to the designation, not less than 14 judicial

                                                               21   days before filing any motion challenging any designation. During the above-identified notice

                                                               22   period, the objecting party shall meet and confer with the Designating Party in a good faith

                                                               23   attempt to resolve the dispute without filing a motion. If the good faith meet and confer process

                                                               24   fails, the objecting party may then challenge the designation through motion practice.

                                                               25          2.      Notwithstanding any such challenge, all such Material shall be treated as

                                                               26   Confidential as designated until one of the following occurs: (a) the Disclosing Party withdraws

                                                               27   such Confidential designation in writing, or (b) the Court rules that the designation is not proper

                                                               28   and that the designation shall be removed.
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                                                                                                STIPULATED PROTECTIVE ORDER
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                                                                1   IV.     DISCLOSURE, USE, AND HANDLING OF CONFIDENTIAL MATERIAL

                                                                2           A.         USE AND HANDLING OF CONFIDENTIAL MATERIAL

                                                                3           1.         To the extent any Material filed with the Court, including pleadings, exhibits,

                                                                4   transcripts of hearings or depositions, expert reports, answers to interrogatories, and responses to

                                                                5   requests for admissions, contains or reveals Confidential Material, the Material or any portion

                                                                6   thereof shall be filed under seal pursuant to the applicable rules.

                                                                7           2.         All copies, duplicates, extracts, summaries, reports, or descriptions (collectively

                                                                8   “copies”) of Materials designated as Confidential or any portion thereof, shall immediately be

                                                                9   affixed with the label Confidential if such label does not already appear.

                                                               10           3.         Material designated Confidential does not lose protected status through an

                                                               11   unauthorized disclosure, whether intentional or inadvertent, by a Receiving Party. If such a
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                                                               12   disclosure occurs, the Parties shall take all steps reasonably required to assure the continued

                                                               13   confidentiality of the Material.
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                                Las Vegas, Nevada 89145




                                                               14           4.         Any Material that is designated Confidential shall not be disclosed to any person
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                                                               15   or entity other than the following, and only after such person or entity has been advised of and is

                                                               16   subject to the terms of this Order:

                                                               17           (a)        The Parties;

                                                               18           (b)        Counsel of record for the Parties;

                                                               19           (c)        Members of the legal, paralegal, secretarial or clerical staff of such counsel who

                                                               20   are assisting in or responsible for working on this action;

                                                               21           (d)        The Court, its staff, the jury, and all appropriate courts of appellate jurisdiction

                                                               22   and their staff;

                                                               23           (e)        Independent experts or consultants retained by a party or counsel of record for

                                                               24   purposes of this litigation, and any employees, associates, or independent contractors retained by

                                                               25   those experts or consultants in their work in this litigation;

                                                               26           (f)        Court reporters during depositions or hearings;

                                                               27           (g)        Deponents during depositions or witnesses during hearings;

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                                                                                                      STIPULATED PROTECTIVE ORDER
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                                                                1          (h)       Persons who have had, or whom any counsel for any party in good faith believes

                                                                2   to have had, prior access to the Confidential Material being disclosed, or who have been

                                                                3   participants in a communication that is the subject of the Confidential Material and from whom

                                                                4   verification of or other information about that access or participation is sought, solely to the

                                                                5   extent of disclosing such information to which they have or may have had access or that is the

                                                                6   subject of the communication in which they have or may have participated, except that, unless

                                                                7   and until counsel confirms that any such persons have had access or were participants, only as

                                                                8   much of the information may be disclosed as may be necessary to confirm the person’s access or

                                                                9   participation;

                                                               10          (i)       Employees of third-party contractors of the Parties involved solely in providing

                                                               11   copying or litigation support services such as organizing, filing, coding, converting, storing, or
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                                                               12   retrieving Material;

                                                               13          (j)       Any other person agreed to in writing by the Disclosing Party;
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                                                               14          (k)       Any arbitrator, mediator, or special master in this action, and employees and
                                  10001 Park Run Drive




                                                               15   similar personnel of said arbitrator, mediator or special master; and

                                                               16          (l)       Any other person by order of the court, after notice to all Parties.

                                                               17          5.        Prior to disclosure of any Confidential Material to any persons under Section

                                                               18   IV(A)(4)(e), (g), (i)-(k), or Section IV(A)(5)(d), (f), (h)-(j), he or she must first be advised of and

                                                               19   agree in writing to be bound by the provisions of this Order. Such written agreement shall consist

                                                               20   of his or her endorsement of a copy of this Order or of the Undertaking attached to this Order.

                                                               21   Copies of such writings shall be produced to other parties upon written request.

                                                               22          6.        The recipient of any Confidential Material shall maintain such Material in a

                                                               23   secure and safe area and shall exercise the same standard of due and proper care with respect to

                                                               24   the storage, custody, use and/or dissemination of such information as is exercised by the

                                                               25   recipient with respect to its own confidential information.

                                                               26   V.     INADVERTENT DISCLOSURE OF PRIVILEGED MATERIAL

                                                               27          1.        The inadvertent production by a Party of Material subject to the attorney-client

                                                               28   privilege, work-product protection, or any other applicable privilege or protection, despite the
                                                                                                                  7
                                                                                              STIPULATED PROTECTIVE ORDER
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                                                                1   Disclosing Party’s reasonable efforts to prescreen such Material prior to production, will not

                                                                2   waive the applicable privilege and/or protection if a request for return of such inadvertently

                                                                3   produced Material is made promptly after the Disclosing Party learns of its inadvertent

                                                                4   production.

                                                                5          2.      Upon a request from any Disclosing Party who has inadvertently produced

                                                                6   Material that it believes is privileged and/or protected, each Receiving Party shall immediately

                                                                7   return such Material and all copies, including those that have been shared with experts,

                                                                8   consultants, and vendors, to the Disclosing Party, except for any pages containing privileged

                                                                9   markings by the Receiving Party which shall instead be destroyed and certified as such by the

                                                               10   Receiving Party to the Disclosing Party. Each Receiving Party shall confirm in writing that all

                                                               11   such documents or information have been returned or destroyed within five (5) business days of
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                                                               12   the request.

                                                               13          3.      Nothing herein shall prevent the Receiving Party from preparing a record for its
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                                Las Vegas, Nevada 89145




                                                               14   own use containing the date, author, addresses, and topic of the inadvertently produced Material
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                                                               15   and such other information as is reasonably necessary to identify the Material and describe its

                                                               16   nature to the Court in any motion to compel production of the Material. Any motion to compel

                                                               17   production of the Material shall be filed under seal and shall not assert as a ground for

                                                               18   production the fact of the inadvertent or unintentional production, nor shall the motion disclose

                                                               19   or otherwise use the content of the inadvertently or unintentionally produced document or

                                                               20   information in any way beyond that which is reasonably necessary to identify the Material and

                                                               21   describe its nature to the Court.

                                                               22   VI.    INADVERTENT DISCLOSURE OF CONFIDENTIAL MATERIAL NOT
                                                                           AUTHORIZED UNDER PROTECTIVE ORDER
                                                               23
                                                                           1.      In the event of a disclosure of any Material designated under this Order, to any
                                                               24
                                                                    person(s) not authorized to receive such disclosure, the Party responsible for having made such
                                                               25
                                                                    disclosure, and each Party with knowledge thereof, shall immediately notify counsel for the
                                                               26
                                                                    Disclosing Party whose Material has been disclosed and provide to such counsel all known
                                                               27
                                                                    relevant information concerning the nature and circumstances of the disclosure. The responsible
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                                                                                                STIPULATED PROTECTIVE ORDER
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                                                                1   Disclosing Party shall also promptly take all reasonable measures to retrieve the improperly

                                                                2   disclosed Material and to ensure that no further or greater unauthorized disclosure and/or use

                                                                3   thereof is made.

                                                                4          2.      Unauthorized or inadvertent disclosure does not change the status of the Material

                                                                5   or waive the right to hold the disclosed document or information as Protected.

                                                                6   VII.   OTHER PROVISIONS

                                                                7          1.      In the event a Receiving Party who has received Confidential Material that is

                                                                8   subject to this Order is: (a) subpoenaed in another action, (b) served with a request in another

                                                                9   action to which the person is a party, or (c) served with any other legal process by one not a party

                                                               10   to this action, that seeks Confidential Material, he, she, or it shall give prompt written notice of

                                                               11   the receipt of such subpoena, demand or other legal process to the Designating Party and its
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                                                               12   counsel, and upon request, shall cooperate with the Designating Party in its efforts to obtain an

                                                               13   appropriate court order protecting the Confidential Material.
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                                Las Vegas, Nevada 89145




                                                               14          2.      Any third party producing Materials in this action may be included in this Order
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                                                               15   by endorsing a copy of this Order and delivering it to the Requesting Party, who, in turn, will

                                                               16   serve a copy of it upon counsel for the other parties.

                                                               17          3.      This Order shall not prevent any party from applying to the Court for further or

                                                               18   additional confidentiality orders, or from agreeing with the other parties to modify this Order,

                                                               19   subject to the approval of the Court.

                                                               20          4.      This Order shall not preclude any party from enforcing its rights against any other

                                                               21   party, or any non-party, believed to be violating its rights under this Order.

                                                               22          5.      Except as provided for in this Order, nothing in this Order, nor any actions taken

                                                               23   pursuant to this Order, shall be deemed to have the effect of an admission or waiver by any party,

                                                               24   including the right of either party to object to the subject matter of any discovery request or the

                                                               25   relevance of any evidence. This Order shall be without prejudice to the rights of the Parties to

                                                               26   present a motion to the Court under applicable Nevada Rules of Civil Procedure for a separate

                                                               27   protective order as to any particular document or information, including restrictions differing

                                                               28   from those as specified herein. Also, nothing in this Order or any actions under the provisions of
                                                                                                                    9
                                                                                               STIPULATED PROTECTIVE ORDER
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                                                                1    this Order shall have the effect of proving, suggesting to prove, or otherwise creating a

                                                                2    presumption that information disclosed in this action is confidential, trade secret, or proprietary,

                                                                3    as it pertains to the Parties’ respective claims in this action. This Order shall not be deemed to

                                                                4    prejudice the Parties in any way in any future application for modification of this Order. Such

                                                                5    motion, however, shall only be made after the Parties have engaged in a good-faith effort to

                                                                6    resolve the issue prior to any application to the Court.

                                                                7           6.      After final termination of this case, including any appeals, each counsel of record,

                                                                8    upon written request within 60 days of the date of final termination, shall within 60 days of such

                                                                9    request, (a) destroy, or (b) assemble and return to the counsel of record, all Material in their

                                                               10    possession and control, embodying Material designated Confidential, including all copies thereof

                                                               11    except that each counsel of record may maintain one archive copy of all pleadings,
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                                                               12    correspondence, deposition transcripts, deposition exhibits, trial transcripts, and trial exhibits,

                                                               13    together with any attorney work product provided that such archive copy is appropriately marked
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                                Las Vegas, Nevada 89145




                                                               14    as Confidential and is retained in accordance with the terms of this Order. Notwithstanding the
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                                                               15    foregoing, Counsel for the Parties are not required to destroy Counsel’s email communications

                                                               16    (and corresponding attachments) related to this case, regardless of whether such email

                                                               17    communications contains Material designated Confidential.

                                                               18           7.      Counsel for any party may exclude from the room at a deposition, during any

                                                               19    questioning that involves Confidential Material, any person (other than the witness then

                                                               20    testifying) who is not permitted the disclosure of such Material under this Order.

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                                                                                                 STIPULATED PROTECTIVE ORDER
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                                                                1           8.      The Parties and any other person subject to the terms of this Protective Order

                                                                2    agree that this Court has and retains jurisdiction during and after this action is terminated for the

                                                                3    purpose of enforcing this Order. This Order shall survive termination of this litigation, to the

                                                                4    extent that the Confidential Material is not or does not become known to the public.

                                                                5    Dated this 16th day of April, 2020.              Dated this 16th day of April, 2020.

                                                                6
                                                                     MARQUIS AURBACH COFFING                         THE JIMMERSON LAW FIRM, P.C.
                                                                7

                                                                8    /s/ Chad F. Clement                         By: /s/ James M. Jimmerson
                                                                9    Phillip S. Aurbach, Esq.                        James J. Jimmerson
                                                                     Nevada Bar No. 1501                             Nevada State Bar No. 00264
                                                               10    Chad F. Clement, Esq.                           James M. Jimmerson
                                                                     Nevada Bar No. 12192                            Nevada State Bar No. 12599
                                                               11    10001 Park Run Drive                            415 South Sixth Street, suite 100
                                                                     Las Vegas, Nevada 89145                         Las Vegas Nevada, NV 89101
MARQUIS AURBACH COFFING




                                                               12    Attorney(s) for Plaintiff                       Attorneys for Defendants and
                                                                     and Counterdefendant, Nanal, Inc.               Counterclaimants SMK International,
                                                               13
                          (702) 382-0711 FAX: (702) 382-5816




                                                                                                                     Inc. and Mohammed Maqbool
                                Las Vegas, Nevada 89145




                                                               14
                                  10001 Park Run Drive




                                                               15                                                 ORDER

                                                               16                                                  IT IS SO ORDERED:

                                                               17                April 20, 2020
                                                                     DATED:                                        ______________________________________
                                                               18                                                  The Honorable Elayna J. Youchah
                                                                                                                   UNITED STATES MAGISTRATE JUDGE
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                                                                                                  STIPULATED PROTECTIVE ORDER
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                                                                1                                          UNDERTAKING

                                                                2             I, ___________________________________, have read and agree to be bound by the

                                                                3    Protective Order in Nanal, Inc. v. SMK International, Inc. and Mohammed Maqbool, pending in

                                                                4    the United State District Court, District of Nevada, Case Number 2:19-cv-02211. I hereby

                                                                5    submit to the jurisdiction of the Court for purposes of ensuring compliance with the Protective

                                                                6    Order.

                                                                7

                                                                8             Date: ________________________________

                                                                9

                                                               10             Signature: _____________________________

                                                               11
MARQUIS AURBACH COFFING




                                                               12             Printed Name: __________________________

                                                               13
                          (702) 382-0711 FAX: (702) 382-5816
                                Las Vegas, Nevada 89145




                                                               14             Address: ______________________________
                                  10001 Park Run Drive




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